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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                               )
NICOLE RENA MCCREA,                            )
                                               )
              Plaintiff,                       )
                                               )
      v.                                       )        Civil Action No. 16-cv-0808 (TSC)
                                               )
DISTRICT OF COLUMBIA, et al.,                  )
                                               )
              Defendants.                      )
                                               )


                                   ORDER OF PARTIAL DISMISSAL

       Pro se Plaintiff Nicole McCrea is a former firefighter with the District of Columbia Fire and

Emergency Medical Services Department (“EMS”). She alleges that two fellow firefighters sexually

assaulted her at work. ECF No. 68, 2d Am. Compl. ¶¶ 1-4. She claims that although she reported the

incident, EMS managers, other city employees and mental health professionals conspired to deny her

requests to classify her subsequent behavioral health problems as job related injuries. See id. ¶¶ 5, 13-

17, 20, 29-30, 37-39. McCrea also alleges these persons conspired to force her into retirement. See id.

¶¶ 59-60, 72, 87-89, 92-99, 108.

       McCrea filed her initial Complaint on April 29, 2016. ECF No. 1. Shortly thereafter, the court

entered its general notice to pro se parties advising her of her obligation to comply with the Federal

Rules of Civil Procedure, the Local Civil Rules of this court and the court’s orders, and the potential

consequences of failing to comply. ECF No. 2. In September 2016, the court ordered Plaintiff to amend

her Complaint because it failed to comply with Federal Rule of Civil Procedure 8(a). ECF No. 10.

Specifically, Plaintiff named some individuals and their agencies in the Complaint, but failed to indicate

whether she asserted claims against the individuals in their individual capacities, their official capacities,

or both. Additionally, Plaintiff named some individuals and agencies in the caption of her case, but did


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not include any factual allegations about them in the body of the Complaint. The court listed the

relevant Defendants in its order and identified the specific Rule 8(a) problem associated with each.

       After several extensions of time, Plaintiff filed her First Amended Complaint, but it suffered

from most of the same deficiencies. See ECF No. 23. Around this same time, several Defendants filed

motions to dismiss and Plaintiff filed responses along with a Second Amended Complaint, which the

court struck because Plaintiff had not sought leave of court. ECF Nos. 21, 22, 27, 29-31; Jan. 24, 2017

Min. Order.

       At a hearing on April 20, 2017, the court granted Plaintiff’s request to file a Second Amended

Complaint. See Apr. 20, 2017 Min. Order. During the hearing, the court explained that Plaintiff’s

proposed Second Amended Complaint must indicate which claims are asserted against which

Defendants and the actions each Defendant took.

       For unrelated reasons, the court dismissed Plaintiff’s lawsuit, but later reopened it and again

granted Plaintiff leave to file a Second Amended Complaint. ECF Nos. 59, 66. The court reminded

Plaintiff that her initial and first amended complaints had been deficient, and that any failure to cure the

deficiencies could result in this court striking portions of the complaint sua sponte. ECF No. 66.

       Rule 8(a) of the Federal Rules of Civil Procedure requires that complaints contain, inter alia, “a

short and plain statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a).

In other words, Rule 8(a) requires that the plaintiff “give the defendant fair notice of what the claim is

and the grounds upon which it rests.” See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555–56 (2007)

(holding that the complaint must contain enough “factual matter” to suggest liability) (citation and

alterations omitted).




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       McCrea’s Second Amended Complaint, which contains approximately 170 numbered and

lettered paragraphs, is not a model of clarity or brevity. ECF No. 68. From what this court is able to

discern, McCrea brings claims against at least twenty-seven Defendants1 pursuant to:

               The Americans with Disabilities Act. See, e.g., id. at p. 9.

               The Rehabilitation Act. See, e.g., id.

               42 U.S.C. § 1981. See, e.g., id.

               42 U.S.C. § 1983. See, e.g., id.

               42 U.S.C. § 1983 (civil conspiracy). Id. at p. 46.

               U.S. Constitution, First Amendment. See, e.g., id. at p. 47.

               U.S. Constitution, Fourth Amendment. See, e.g., id. at p. 48.

               U.S. Constitution, Equal Protection Clause. Id. at p. 55.

               U.S. Constitution, Due Process Clause. See, e.g., id. at p. 47.

               Constructive discharge. Id. at p. 46.

               Defamation of character. See, e.g., id. at pp. 48-49.

               Forgery. Id. at p. 51.

               Fraud. See, e.g., id.

               Fraud on the court. Id. at p. 50.

               Intentional Infliction of Emotional Distress. Id. at p. 51.

               Medical malpractice. See, e.g., id. at p. 50.

               Negligence. Id. at p. 56.

               Negligent Infliction of Emotional Distress. Id. at p. 51.


1
  McCrea lists twenty-seven defendants in the caption of her Complaint, but she also names additional
defendants in the body of her Complaint. See, e.g., 2d Am. Compl. ¶ 63 (alleging that Kenneth Jackson
used a fabricated memorandum to defeat one of Plaintiff’s appeals for benefits relating to her post-
harassment mental health problems).
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                Spoliation or fabrication of evidence. Id.

                Tortious Interference. Id.

McCrea also appears to contend that certain D.C. Code regulations are preempted by federal law. See

id. at pp. 52-55.

        Some of the deficiencies that the court previously identified remain, including McCrea’s failure

to identify the actions taken by some of the named Defendants that form the basis for her complaint.

Accordingly, the court will exercise its discretion and dismiss the following named Defendants, pursuant

to Rule 8(a):

1. District of Columbia Attorney General Karl Racine in his individual and official
   capacities: Although McCrea identifies him in the caption of the Complaint, his name does
   not appear in the body of the Complaint.

2. Former Mayor Vincent Gray in his individual capacity: McCrea alleges that she gave the
   former Mayor a copy of her “second notice of violations of civil rights, federal laws and
   state laws and her intent to sue.” 2d Am. Compl. ¶ 86. These allegations are not
   sufficient to give rise to any individual liability on the part of Gray.

3. Andrea Comantale, Assistant Attorney General: Comantale is named in the caption, but
   her name does not appear in the body of the Complaint.

4. Larry Jackson, former D.C. Fire Chief: He is named in the caption, but his name does not
   appear in the body of the Complaint.

5. Marian Booker, PFC Associates, LLC Chief Operating Officer: She is named in the
   caption, but her name does not appear in the body of the Complaint.

    The Clerk of the Court shall mail a copy of this order to the Plaintiff at her address of

record.


Date: July 18, 2018

                                               Tanya S. Chutkan
                                               TANYA S. CHUTKAN
                                               United States District Judge




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